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                            UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF PENNSYLVANIA


                                           )
SUSAN WILLIAMS                             )
                                           )    Case Number: 10-1476
              Plaintiff                    )
                                           )
                vs.                        )
                                           )
NCO FINANCIAL SYSTEMS, INC.                )
                                           )
               Defendant                   )


                           STIPULATION OF DISMISSAL

       AND NOW, this 29th day of September, 2010, it is hereby Stipulated and Agreed

by and between counsel for plaintiff and counsel for defendant in the above captioned

matter that the above captioned matter be dismissed with prejudice.



                                     Warren & Vullings, LLP


                               BY:__/s/ Bruce K. Warren
                                   Bruce K. Warren, Esquire
                                   Attorney for Plaintiff



                                     Richard A. Kessler & Associates

                               BY:_/s/ Richard A. Kessler
                                    Richard A. Kessler, Esquire
                                    Attorney for Defendant
